              CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 1 of 44




                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
_______________________________________

Zoya Code,
                                      Plaintiff,
v.
                                                           COMPLAINT
                                                           Jury Trial Demanded
Derek Chauvin, acting in his individual                    Under FRCP 38(b)
capacity as a Minneapolis Police Officer;
Ross Blair, acting in his individual capacity
as a Minneapolis Police Officer; and the City
of Minneapolis,

                            Defendants.
_______________________________________

         For her Complaint, Plaintiff Zoya Code (“Zoya”) states and alleges as follows:

                                      INTRODUCTION

         1.       This is an action for money damages for injuries sustained by Zoya as a

result of the gratuitous use of excessive force by then-Minneapolis Police Department

(MPD) officer Derek Chauvin on June 25, 2017.

         2.       Defendant Chauvin was a long-troubled officer with a documented pattern

of misconduct. He actively sought to prey on compliant, vulnerable Black arrestees,

including Zoya, John Pope, and George Floyd, among others. But consistent with its

custom and practice of tolerating (if not encouraging or ratifying) misconduct by its

officers, MPD allowed Defendant Chauvin’s outrageous conduct to continue unabated.

Zoya was one of many unfortunate victims of Defendant Chauvin’s racist policing and

unchecked use of excessive force.




92775553.1
              CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 2 of 44




         3.       Moreover, per MPD’s longstanding customs and practices, Defendant Ross

Blair, another officer at the scene of Defendant Chauvin’s use of excessive force against

Zoya, participated in the punitive use of force against her and failed to intervene to stop

Defendant Chauvin.

         4.       Making matters worse, an MPD Sergeant, Tammy Werner, later reviewed

and approved Defendant Chauvin’s unlawful use of force against Zoya.

         5.       The City of Minneapolis’s longstanding custom and practice of unchecked

Fourth Amendment violations committed by MPD officers against its citizenry, and its

tolerance and ratification of widespread racist policing by its officers, were moving

forces behind the violation of Zoya’s constitutional rights.

         6.       Defendant Chauvin’s repeated use of excessive force culminated in his May

25, 2020 murder of George Floyd outside the Cup Foods store in Minneapolis, slowly

asphyxiating the handcuffed, face-down, non-resistant Floyd by pressing his knee into the

back of Floyd’s neck for more than eight minutes, with the assistance and protection of

three other MPD officers. This kneeing maneuver was Defendant Chauvin’s calling card,

having used it against Zoya, John Pope, George Floyd, and likely many others.

         7.       The City knew its officers, including Chauvin, were applying force to the

backs and necks of prone (lying on their stomach) arrestees, despite the known,

appreciated, and obvious risk of causing serious injury or death from positional asphyxia.

Indeed, the City contracted for and kept a library of digital evidence on its cloud-storage

site for body-worn camera (BWC) recordings, known as Evidence.com. But the City

buried its head in the sand regarding such evidence or even worse, reviewed it and did

                                                2
92775553.1
              CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 3 of 44




nothing, in either case continuing to condone such actions by officers. More gallingly,

the City even continued to train officers to use such neck restraints.

         8.       Consistent with that training, Defendant Chauvin snuffed the very life out

of George Floyd.

         9.       Mr. Floyd’s murder was witnessed and filmed by a brave and broad group

of citizens, including at least one minor, who protested Defendant Chauvin’s and his

“cover” officers’ actions. Subsequent broadcasts of their recordings, and the officers’

own BWC recordings from Evidence.com, finally led to accountability for Defendant

Chauvin, who was eventually fired and convicted of murder, as well as criminally

violating Floyd’s and John Pope’s federal civil rights.

         10.      Like most aspects of the illegal policing practices in which the MPD has

engaged for decades, the City’s preference even after the murder of Mr. Floyd would

have been to stick with business as usual. It took the courage of civilians, and later

jurors, to stop Defendant Chauvin.

         11.      But while still employed by the City of Minneapolis and MPD, Defendant

Chauvin was a serial predator who was never stopped by the City—a walking Monell

violation—and who fully embraced the City’s training on dangerous restraint techniques.

Zoya – like Pope, Floyd, and others – suffered the consequences.

                                         THE PARTIES

         12.      Zoya is, and was at all times material herein, a citizen of the United States

and a resident of the State of Minnesota. Zoya is Black and has at times struggled with

her mental health as an adult.

                                                 3
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 4 of 44




         13.     Zoya asserts Fourth and Fourteenth Amendment claims under 42 U.S.C.

§§ 1983 and 1988 against Defendants Chauvin and Blair in their individual capacities, for

misconduct occurring under color of state law.

         14.     Defendant Chauvin was at all times material herein a citizen of the United

States, a resident of the State of Minnesota, and duly acting in the course and scope of his

employment as an MPD police officer.

         15.     Defendant Blair was at all times material herein a citizen of the United

States, a resident of the State of Minnesota, and duly acting in the course and scope of his

employment as an MPD police officer.

         16.     Zoya further asserts claims against the City of Minneapolis (sometimes

referred to herein as the “City”) under Monell v. Department of Social Services, 436 U.S.

658 (1978), and Title VI of the Civil Right Act of 1964, 42 U.S.C. § 2000d et seq.

         17.     The MPD is not a separately suable entity but rather is an arm of the City.

The City is a municipality duly incorporated under the laws of the State of Minnesota.

         18.     Zoya’s causes of action arise purely out of federal law. State-law claims

and, by consequence, limitations and defenses under state law are not applicable to this

civil-rights lawsuit.

         19.     Original jurisdiction over this matter exists pursuant to 28 U.S.C. §§ 1331

and 1343(a)(3).

         20.     The events giving rise to this action occurred in the City of Minneapolis.

Venue is thus proper in this Court under 28 U.S.C. § 1391(b)(2).



                                                4
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 5 of 44




       THE CITY ENCOURAGES AND ENABLES RACIST, PREDATORY
      POLICE OFFICERS AND UNCONSTITUTIONAL FORCE PRACTICES

         21.     The City fulfills its policing functions through the MPD, which has a long

history of looking the other way when its officers engage in misconduct.

         22.     Indeed, MPD’s history of using excessive force dates back to at least the

1980s. From 1983 to 1987, 227 complaints of excessive force were filed against MPD

officers, and yet none was upheld by the City. 1

         23.     The misconduct continued over the ensuing years. By summer 1994, a

federal jury concluded that the City maintained a custom of deliberate indifference to

complaints about excessive force within MPD. Even this did not spur change at the

police department.

         24.     The widespread misconduct by MPD officers persisted into the 21st

century. Data published in the Minneapolis Star Tribune on August 17, 2013, revealed

that MPD officers were then defendants in 61 lawsuits. 2

         25.     One of those lawsuits was commenced by Darryl Gill, a Black man who

had a dreadlock ripped out by MPD officer Sundiata Bronson, who then broke Gill’s

wrist while he was handcuffed. Both actions by Bronson constituted excessive force.

         26.     Notably, Bronson did so less than a year after he used excessive force on

Melvin Dickerson, another Black man. Bronson slammed Dickerson’s face into a plate-

glass window, causing injuries including 22 sutures.


1
 https://www.thenation.com/article/society/minneapolis-police-brutality-racism/
2
 https://www.startribune.com/minneapolis-police-face-lawsuits-alleging-
misconduct/219998711/?refresh=true
                                               5
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 6 of 44




         27.     But MPD took no action, and Bronson kept trampling citizens’ civil rights.

In 2012, Bronson assaulted Zachary King, who also is Black, for lawfully carrying a

firearm with a permit, landing King in the hospital. The City settled King’s subsequent

civil-rights lawsuit for $122,000. 3

         28.     By the time Bronson finally retired in 2014, there had been at least thirteen

citizen complaints lodged against him – and yet the only discipline imposed upon him

was for improperly operating his squad car in one instance. All told, the City paid out

more than a half million dollars to settle six lawsuits in which Bronson was accused of

misconduct. 4

         29.     Bronson is far from the only MPD officer mollycoddled by the City despite

clear use of improper and excessive force and predatory, racist conduct.

         30.     In August 2009, for instance, MPD officer Joel Pucely threw to the ground

and punched Ira Stafford during a traffic stop in which Stafford was not resisting. The

stop culminated with an officer pressing a knee into Stafford’s back while he was on the

ground in the prone position. The City settled Stafford’s subsequent lawsuit.

         31.     Pucely, who remains an MPD officer today, has had at least nine citizen

complaints lodged against him; none were sustained by the City.

         32.     Another lawsuit alleged that in October 2014, two MPD officers –

including Tou Thao, one of the officers involved in George Floyd’s murder – punched,



3
  https://d3n8a8pro7vhmx.cloudfront.net/cuapb/pages/270/attachments/original/
1626645114/Sundiata_Bronson.pdf?1626645114
4
  Id.
                                                6
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 7 of 44




kicked, and kneed Lamar Ferguson, who is Black, after he had been handcuffed. The

City settled Ferguson’s subsequent lawsuit, too.

         33.     Like Bronson and Pucely, numerous complaints had been lodged against

Thao, with none sustained and no discipline imposed.

         34.     These are just mere examples of many. In total, the City has paid out over

$70,000,000 in the last two decades alone as a result of the unconstitutional use of force

by MPD officers.

         35.     Rather than deal with the problem, the City – through a variety of bodies

including the City Council, the Mayor, the City Attorney’s Office, and a number of faux

police “oversight” boards – enables MPD to the detriment of its citizens, who are the

subjects of unconstitutional force practices, and its taxpayers foot the bill.

         36.     The longstanding culture of the MPD instills knowledge among the rank-

and-file that they can make unconstitutional force decisions with impunity. The Star

Tribune reported that the City’s “12 costliest settlements from 2006 to 2012 resulted in

no officer discipline.” 5

         37.     This “business as usual” would have continued with regard to Defendant

Chauvin even after he murdered George Floyd, but for civilians who witnessed and

filmed the events culminating in his death.




5
 https://www.startribune.com/minneapolis-police-face-lawsuits-alleging-
misconduct/219998711/
                                               7
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 8 of 44




         38.     MPD’s policies, practices and customs, along with its longstanding failure

to discipline offending officers, have led to a pattern and practice of excessive force by

MPD officers.

         39.     MPD’s history of misconduct has been so pervasive, in fact, that it has led

to investigations into the department’s policing practices by both the United States

Department of Justice and the Minnesota Department of Human Rights (DHR).

         40.     On April 27, 2022, the DHR published a 72-page report detailing its

findings after a nearly two-year investigation into MPD’s policing practices. 6

         41.     That investigation included reviewing over 700 hours of BWC footage

from MPD officers and nearly 480,000 pages of documents; observing 87 hours of MPD

Academy trainings for newly hired police officers; participating in multiple “ride-alongs”

with MPD officers in each of MPD’s five precincts; analyzing a decade of MPD data

regarding officers’ uses of force and nearly 3-1/2 years’ worth of data on MPD traffic

stops and prosecutions; and reviewing use-of-force files and police-misconduct

complaints and investigations.

         42.     The DHR also interviewed, inter alia, current and former MPD officers

(from the rank of Chief down to the rank of patrol officer) and staff members, City staff

involved with public safety, prosecutors from the City Attorney’s and Hennepin County

Attorney’s Offices, other public-safety employees such as firefighters, health-care




6
    A true and correct copy of the DHR’s April 27, 2022 report is attached as Exhibit A.
                                               8
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 9 of 44




professionals and attorneys in the Twin Cities area, and more than 2,200 community

members.

         43.     After completing this “comprehensive investigation,” the DHR concluded

that excessive force and lack of accountability are institutional norms at the MPD and

have been for years.

         44.     One of the key problems, the DHR reported, is that MPD officers and

supervisors receive improper training “which emphasizes a paramilitary approach to

policing that results in officers unnecessarily escalating encounters or using inappropriate

levels of force.”

         45.     Indeed, the DHR found that as a result of MPD emphasizing aggression

during training, officers repeatedly “us[e] inappropriate levels of force with community

members” and “resort to higher levels of physical force . . . even when the individual

does not pose an imminent threat to officers or others.”

         46.     MPD also “reinforces a culture of unquestionable compliance” amongst its

officers, and its training “establish[es] a warrior mindset with officers from their very

first day as new MPD officer hires.”

         47.     Such “unquestionable compliance” is antithetical to the Constitution of the

United States and MPD’s own policies, including an officer’s “duty to intervene or duty

to report unauthorized use of force,” as the DHR noted.

         48.     Each of these – the inappropriate use of force, the failure to intervene to

stop that force, and the failure to properly report unauthorized force – happened with

respect to the incident with Zoya on June 25, 2017.

                                                9
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 10 of 44




         49.     Furthermore, these problems are baked into MPD’s field-training program,

in which rookie officers are paired with veteran officers for on-the-ground training. Field

trainers “have a lasting impact on rookie officers,” yet these veteran officers receive no

real instruction on how to mentor and train young officers, or more importantly, how not

to.

         50.     Making matters worse, MPD routinely allows veteran officers to serve as

field trainers despite reports or findings of misconduct against them. As the DHR noted,

“[i]f a field training officer uses unauthorized force or otherwise exhibits police

misconduct while they are training a rookie officer, then they are training that rookie

officer that using unauthorized force is, in fact, acceptable and even expected.” This is an

especially serious problem in an environment in which new officers are expected to

demonstrate “unquestioned compliance” with senior officers, particularly because field-

training officers “play a significant role in determining whether a rookie officer

ultimately passes their probationary period.”

         51.     The DHR report also found fault with MPD’s “accountability systems,”

noting that they are “insufficient and ineffective at holding officers accountable for

misconduct.” MPD’s Internal Affairs Unit and the Office of Police Conduct Review are

simply toothless tigers that failed to provide any “meaningful independent review” of

challenged conduct, particularly because “MPD officers and/or supervisors are embedded

in the review process.”




                                             10
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 11 of 44




         52.     For example, uses of force are initially reviewed by shift supervisors,

typically Sergeants. Yet, those supervisors themselves often have been accused of or

engaged in misconduct, including the use of excessive force.

         53.     In other words, at MPD the foxes guard the hen house.

         54.     Most often, especially when criminal or civil liability or discipline is a

likelihood, the so-called “review” of alleged misconduct is farcical. Despite having at

their disposal critical pieces of objective evidence – most notably BWC videos of officers

at the scene, but also (among other things) MPD training materials, third-party videos,

and weapon-system-manufacturer recommendations and warnings – the “investigators”

ignore that objective evidence because the “review” actually is designed to avoid

accountability rather than identifying and addressing misconduct. These “investigations”

are intentionally skewed so that they amount to no real investigation at all, ending with a

pre-ordained result in which either no discipline or impotent “counseling” is imposed,

doing nothing to effect change.

         55.     In short, instances of misconduct, according to the DHR report, are “not

properly investigated, not timely addressed, and officers are not consistently held

accountable,” even when BWC evidence or other objective evidence contradicts an

officer’s use-of-force reporting.

         56.     This explains why Defendant Chauvin was so nonchalant when he

murdered George Floyd on film and violated the civil rights of Zoya, John Pope, and

others while being filmed by MPD’s own BWC equipment.



                                                11
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 12 of 44




         57.     By ignoring BWC videos and otherwise, MPD supervisors simply do not

“adequately review[] and assess[] inaccuracies or false statements made by officers in

their use of force reports.”

         58.     This, too, was true of MPD Sergeant Werner’s “review” of the use of force

against Zoya on June 25, 2017.

         59.     Without a fair, objective, “non-biased” and consistently applied system of

oversight in place, nothing will change. City and MPD leaders have known this for years

but have refused to do anything about it.

         60.     Yet, a hyper-aggressive, paramilitary culture resulting in the repeated use of

unlawful and excessive force by police officers, and the lack of effective accountability

systems, are not the only problems plaguing the MPD.

         61.     MPD also suffers from a serious racism problem.

         62.     The problem is so ingrained and so pervasive, in fact, that the DHR found

probable cause to conclude that MPD “engage[s] in a pattern or practice of race

discrimination.”

         63.     For example, in its findings the DHR determined that MPD “maintains an

organizational culture where officers consistently use racist . . . language” but did not

“uniformly and consistently hold officers accountable” therefor.

         64.     Indeed, over the 11-year period between January 2010 and April 2021,

“MPD rarely disciplined officers” for using racist language.

         65.     The DHR’s report noted that MPD officers and supervisors used racial

slurs, including calling Black persons “niggers,” “monkeys,” “orangutans,” and “Black

                                               12
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 13 of 44




bitches.” Black MPD officers were no exception – the DHR found that officers referred

to their Black colleagues as “nappy head” and “cattle.”

         66.     Far worse, the DHR found that Black members of the community were

more likely to be targeted for law-enforcement action by MPD officers.

         67.     It noted that MPD officers were more likely to stop vehicles occupied by

people of color, more likely to search those vehicles, and more likely to use force against

and arrest those vehicle occupants.

         68.     Simply put, the DHR found significant statistical differences in the way

Black individuals and white individuals are treated in similar circumstances.

         69.     The ingrained racist culture at the MPD, along with its training

emphasizing aggressive, militaristic tactics and the lack of effective accountability

processes, combine to provide a perfectly toxic environment for officers to violate the

Constitution and mete out excessive force against persons of color with impunity and

without fear of repercussion or negative consequences.

         70.     The DHR’s investigation bears that out. Among other things, the DHR

concluded that MPD officers “use higher rates of more severe force against Black

individuals than white individuals in similar circumstances” and that “race is the likely

reason.”

         71.     This racist, paramilitary culture was a direct cause of the Defendant

Chauvin’s inhumane treatment of Zoya on June 25, 2017, and Defendant Blair’s failure

to take any steps to stop it.



                                               13
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 14 of 44




         72.     Persons at the highest levels of City government and the MPD, including

several Chiefs of Police, have long been aware of the widespread, unlawful use of force

by MPD officers and have repeatedly failed to address it. They have been complicit in

the lack of accountability.

         73.     Indeed, the DHR found that MPD’s Chiefs have been reluctant over the

years to impose discipline, allowing investigations to sit on their desks without final

review or a disciplinary decision for an average of nearly 15 months.

         74.     Likewise, every monetary settlement of a lawsuit against the MPD requires

approval—read, knowledge—by the Mayor and the Minneapolis City Council. But

nothing has been done.

         75.     As with excessive force and lack of accountability, the racist culture at

MPD also did not go unnoticed at the highest levels of City government or by MPD

commanders.

         76.     As the DHR reported, “City and MPD leaders have been aware of deep

organizational culture problems within the MPD resulting in the long-standing,

disproportionate impact of race based policing on people of color.”

         77.     Indeed, “[f]ormer and current Mayors, City officials, Police Chiefs, and

high-level MPD officials acknowledge that there is a problem with MPD’s organizational

culture that results in racial disparities.”

         78.     Despite their knowledge, City and MPD leaders let the problems spread for

years.



                                               14
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 15 of 44




         79.     The “lack of collective and sustained action among City and MPD leaders,”

the report noted, “has, in effect, allowed this organizational culture to fester within MPD

and resulted in unlawful policing practices that undermine public safety.”

         80.     And as a result of the absence of any “coordinated and sustained action to

address racial disparities in policing, leaders have allowed MPD to maintain an

organizational culture that . . . is averse to accountability.”

         81.     There has been zero accountability by the City or MPD for the Defendant

officers’ misconduct involving Zoya on June 25, 2017. Quite the contrary, supervisor

MPD Sergeant Werner actually approved that conduct.

         82.     Even in the face of the DHR’s comprehensive report, some City and MPD

leaders still reflexively bristle at the notion that there are widespread problems with the

City’s police force. For example, the DHR noted that when confronted with evidence of

systemic racism, “some City and MPD leaders, as well as some MPD officers, claim that

disproportionality in policing in Minneapolis is due to factors other than race.”

         83.     Minneapolis Mayor Jacob Frey called the DHR’s findings “repugnant, at

times horrific” and claimed he was “outraged.” This is but another example of a City

leader talking loudly while saying nothing.

         84.     Likewise, the Star Tribune reported on May 20, 2022, that City leaders had

stopped discussions with the DHR on efforts to reform the MPD because they refused to

accept some of the DHR’s findings without documentary evidence of the same. 7


7
 https://www.startribune.com/minneapolis-halts-police-reform-talks-state-human-rights-
officials-lack-evidence-social-media-spying/600175169/?refresh=true
                                               15
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 16 of 44




         85.     The City Attorney’s Office claimed it had demanded such evidence from

the DHR but that the DHR “repeatedly refused to share this vital information.”

         86.     This is a particularly ironic assertion, given that the City Attorney’s Office

routinely shields BWC evidence from persons subjected to excessive force by MPD

officers, under the guise of pretended confidentiality concerns under the Minnesota

Government Data Practices Act.

         87.     The less comes to light, the better, as far as the City and MPD are

concerned.

         88.     The DHR’s also report highlighted other systemic issues at MPD that

impacted Zoya.

         89.     One particular method of unconstitutional, discriminatory force emphasized

by the DHR in its report concerned neck restraints.

         90.     The DHR noted that MPD officers were almost twice as likely to use neck

restraints against Black individuals than white individuals when confronted with similar

situations.

         91.     Notably, the City has been aware for years that MPD officers were

restraining subjects – especially Black subjects – in ways that were likely to cause death

or serious bodily injury.

         92.     On September 9, 2010, white MPD officers Timothy Gorman and Timothy

Callahan responded to the Minneapolis YMCA, where David Smith, a Black man, was in

the midst of a mental-health crisis.



                                                16
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 17 of 44




         93.     The encounter ended with Smith handcuffed behind his back in the prone

position.

         94.     Despite being handcuffed and controlled, Smith was held in the prone

position by Callahan and Gorman for at least 4-1/2 minutes, with Gorman kneeing on

Smith’s back and Callahan straddling his thigh/buttocks region.

         95.     Smith had no pulse and showed no signs of life by the time Callahan and

Gorman finally made any effort to observe his medical condition.

         96.     Hennepin County Chief Medical Examiner Andrew Baker determined that

Smith’s death was a homicide, and that the cause of death was anoxic encephalopathy

due to or as a consequence of cardiopulmonary arrest caused by mechanical asphyxia.

         97.     Every then-employed MPD officer (including Defendant Chauvin) knew

about the Smith incident.

         98.     The Smith incident was a clear example of excessive force against a Black

man—Gorman kneed on Smith’s back while Smith was handcuffed and fully controlled.

No reasonable officer could believe that the use of such force was objectively reasonable.

         99.     Yet, the MPD took no disciplinary action against Callahan or Gorman and,

instead, deemed their actions consistent with policy and training. MPD Spokesman John

Elder said the following regarding the Smith incident: “As tragic as the incident was, the

officers tried their best, and if mistakes were made they were done so under the standard

law enforcement practices and training at the time.”

         100.    Elder’s ridiculous statement is but one example of MPD’s ratification of

patently unreasonable force decisions by its officers.

                                              17
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 18 of 44




         101.    The City paid $3,000,000 to settle the Smith family’s lawsuit. But rather

than deal with the core problem of unchecked and undisciplined use of excessive force by

its officers, particularly against Black persons, the City’s taxpayers paid for it to continue.

         102.    Indeed, Elder’s statement was no accident. From at least April 2012

through George Floyd’s death in May 2020, MPD policy 5-311 allowed officers to

employ “neck restraints” on subjects, defining such restraints as “non-deadly force”

despite their obvious risks.

         103.    MPD policy defined a neck restraint as “[c]ompressing one or both sides of

a person’s neck with an arm or leg, without applying direct pressure to the trachea or

airway (front of the neck).” MPD trained its officers that a “proper” neck restraint – as if

such a thing exists – required officers to “[c]ompress veins, arteries, nerves & muscles of

the neck.”

         104.    MPD trained officers that such a restraint was “non-deadly force” even

though it carried with it a reasonable likelihood of death or serious bodily harm.

         105.    Consistent with this policy, training materials provided in 2014 to MPD

officers (including Defendant Chauvin) depict an officer kneeing on the neck of a

handcuffed arrestee in a prone position.

         106.    Restraining arrestees by the neck in this matter is inherently dangerous.

         107.    Nevertheless, MPD actively encouraged and condoned the use of such

restraint at all times material herein.




                                               18
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 19 of 44




         108.    The MPD has used neck restraints in over 230 arrests since 2015. 44 of

those individuals were rendered unconscious, 60% of whom were Black. 8

             THE CITY ALLOWS DEFENDANT CHAUVIN TO RUN AMOK

         109.    Defendant Chauvin, like MPD officers Bronson, Pucely, Thao, and many

others, engaged in repeated misconduct with the City’s tacit authorization. Indeed,

Defendant Chauvin was a serial predator, repeatedly stalking and attacking vulnerable

persons of color, whether they be minors, mentally ill, or otherwise – they were all prey!

         110.    Defendant Chauvin became an MPD officer in 2001. This provided him

over fifteen years to steep in the culture that led officers to understand they were free to

use excessive force with impunity.

         111.    Prior to his encounter with Zoya in June 2017, Defendant Chauvin had at

least sixteen civilian complaints levied against him. The only consequence of these

complaints was, at most, two letters of reprimand.

         112.    In 2005, Defendant Chauvin participated in a reckless police chase

resulting in three deaths.

         113.    In another incident in November 2013, Defendant Chauvin and other

officers pulled over LeSean Braddock, a Black mental-health worker at Hennepin County

Medical Center. They roughly dragged him from his car and slammed him to the ground,

then kneed on his neck and back as he lie prone.




8
 https://www.blackenterprise.com/minneapolis-police-have-used-neck-restraints-in-over-
200-arrests-since-2015-leaving-dozens-unconscious/
                                              19
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 20 of 44




         114.    Each of these incidents resulted in a complaint being lodged against

Defendant Chauvin with the MPD. Yet none resulted in any discipline being imposed

upon him. Instead, the MPD perversely responded by allowing Defendant Chauvin to

assume the role of field-training officer.

         115.    The failure to level any real discipline against him or other MPD officers

caused Defendant Chauvin to freely and openly violate Zoya’s constitutional rights on

June 25, 2017.

         116.    Notably, within three months of using excessive force against Zoya,

Defendant Chauvin used excessive force again, this time against John Pope, a 14-year-old

Black boy.

         117.    In that instance, Defendant Chauvin struck Pope in the head repeatedly with

a large metal flashlight, grabbed him around the throat and pinned him against a wall,

placed him in a chokehold, and then forced him into the floor with his knee – while Pope

was handcuffed and non-resisting – for more than fifteen minutes.

         118.    Pope, like Zoya, was subjected to excessive force by Defendant Chauvin.

Defendant Chauvin employed his signature move against each, subjugating these

vulnerable Black citizens by pressing down on them with his knee to their necks after

they had already been handcuffed and posed no threat.

         119.    Indeed, both were subjected to deadly force by Defendant Chauvin. Both

reasonably feared for their lives.

         120.    Despite knowledge of Defendant Chauvin’s long history of misconduct, the

evidence of which (including the incident involving Pope) is under the City’s and MPD’s

                                               20
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 21 of 44




control and archived in Evidence.com – the storage system created by the City’s BWC

manufacturer (AXON) to be a “comprehensive evidence management system” to make

“evidence more manageable” – City policymakers allowed Defendant Chauvin to stay on

the force long enough to murder George Floyd on May 25, 2020.

         121.    Defendant Chauvin killed Floyd using his signature move – a knee to the

neck – which, although deadly force as applied to Zoya and John Pope, miraculously had

not yet killed someone before Floyd’s murder.

         122.    Defendant Chauvin violated all of their civil rights—and likely many

others’—with the City’s express or tacit approval.

         123.    Indeed, Defendant Chauvin’s signature move even against handcuffed and

controlled arrestees had already been met with approval by MPD policymakers, after

David Smith was killed – resulting in a multi-million-dollar settlement – without any

disciplinary measures taken against the offending officers. Instead, the City continued to

train its officers that kneeing on the necks of subdued arrestees was appropriate and

lawful.

                               THE INDICENT WITH ZOYA

         124.    On June 25, 2017, Defendants Chauvin and Blair were dispatched to a

residence on Oakland Avenue South in Minneapolis at approximately 5:30 p.m.

         125.    Zoya’s mother had called police and alleged that Zoya had assaulted her

and strangled her with an extension cord.

         126.    Zoya left the residence before Defendants Chauvin and Blair arrived.

         127.    Zoya returned to the residence after the officers arrived.

                                                21
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 22 of 44




         128.    Defendants Chauvin and Blair were inside the residence when Zoya

returned.

         129.    Zoya was significantly smaller than each officer.

         130.    Zoya walked into the main living area and started to walk by Defendant

Chauvin.

         131.    Defendant Chauvin grabbed Zoya, spun her around, and began to place her

in handcuffs. A brief struggle ensued with Defendants Chauvin and Blair before the

handcuffing. At no point in time did Zoya pose an immediate threat to the Defendant

officers.

         132.    Defendants Chauvin and Blair took Zoya to the ground and handcuffed her

without incident.

         133.    After she was taken down, Zoya exclaimed, “That’s why people dead

now.” Soon thereafter she yelled, “You wanna see me murdered?!”

         134.    After being handcuffed behind her back, Zoya never actively resisted arrest

or attempted to evade arrest by flight.

         135.    After being handcuffed behind her back, Zoya never posed an immediate

threat to the safety of officers or others.

         136.    The most Zoya did was refuse to stand up when commanded by Defendants

Chauvin and Blair. Zoya said, “I’m resisting.” One of the officers replied, “No. You’re

not.” Her comment did not equate to action aside from refusing to stand.




                                               22
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 23 of 44




         137.    Defendant Chauvin then began applying upward force to Zoya’s

handcuffed arms—moving them awkwardly towards her head behind her back. Zoya

stated, “This is how Black people get treated.”

         138.    Defendant Chauvin responded by torquing Zoya’s handcuffed arms

upward. Zoya said “Ow!” in response to this punitive use of force. The below

screenshot is taken from Defendant Blair’s BWC, showing Defendant Chauvin

wrenching Zoya’s handcuffed arms up behind her head. Zoya is face-down in this

picture:




         139.    Defendant Chauvin carried Zoya out of the residence by her arms—both of

which were still handcuffed behind her and being forced upward—while Defendant Blair

(at least at times) carried her by the feet.



                                               23
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 24 of 44




         140.    Outside the residence, Defendant Chauvin gratuitously slammed Zoya’s

unprotected head on the ground. Then he immediately took his signature pose, kneeing

on the back of Zoya’s neck.

         141.    With Zoya handcuffed in the prone position, it is clear from Defendant

Blair’s BWC that Defendant Chauvin’s knee is on Zoya’s neck at 22:49:34 on the BWC:




         142.    Defendant Chauvin’s knee remained in the same position for several

minutes, as shown below at 22:51:11 on Blair’s BWC:




                                              24
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 25 of 44




         143.    Zoya remained cuffed and essentially motionless in the prone position as

Defendant Chauvin kneed on her neck, with neither officer checking her condition. Zoya

asked, “How long are we gonna stay like this?” Defendant Chauvin did not take any

action in response, remaining on Zoya’s neck:




                                              25
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 26 of 44




         144.    Zoya went on to ask, “Can you get off my neck?” Having no success she

tried reverse psychology, saying, “Push harder.” Defendant Chauvin was not phased.

         145.    Zoya continued, “That’s how they kill Black people in America.”

         146.    Remarkably, despite the prone and controlled Zoya lying on the ground,

Defendant Chauvin asked Defendant Blair to retrieve a hobble from the officers’ squad

car. A hobble is a device limiting a person’s motion by tethering her legs together and

securing them to her waist.

         147.    With Defendant Blair’s direct participation, Defendant Chauvin decided to

subject Zoya to yet another dangerous and humiliating use of police force. She, like Pope

and Floyd later, was prey to this serial predator.

         148.    Under MPD policy 5-316 then in effect, use of a hobble was appropriate

only where arrestees were “combative” and “pose[d] a threat to themselves, officers, or

others.”

         149.    None were true of the subdued, prone, and handcuffed Zoya. Use of the

hobble violated policy and was objectively unreasonable, as Zoya remained handcuffed

and not resisting.

         150.    Nevertheless, the officers applied the hobble, as depicted at 22:52:55 on

Defendant Blair’s BWC:




                                               26
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 27 of 44




         151.    Zoya remained limp throughout the hobbling process and stated, “This is

how they do it in America.”

         152.    Incredibly, Defendant Chauvin stayed on Zoya’s neck for more than a

minute even after she was hobbled.

         153.    He finally got off of her at 22:54:16 on Blair’s BWC.

         154.    At that point, the Defendant officers carried Zoya into their squad car.

Defendant Chauvin decided to carry her by one arm:




                                               27
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 28 of 44




         155.    All told, Defendant Chauvin remained on Zoya’s neck for 4 minutes and 41

seconds.

         156.    At the squad car, Zoya banged on the side, as she did not want to ride to jail

with the Defendant officers. She yelled that they would have to shoot her before she

would ride in the car with them. She said, “You not gonna kill me like y’all did

Philando,” referring to Philando Castille, and added, “You already put your knee where it

wasn’t supposed to go.”

         157.    MPD Sergeant Tammy Werner responded to the scene, apparently in

response to Zoya being hobbled. Sergeant Werner approved the Defendant officers’ use

of force against Zoya. Zoya was then transported to the Hennepin County Jail and

booked.




                                               28
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 29 of 44




         158.    Prior to the Defendant officers’ encounter with Zoya, the MPD embraced a

militaristic culture where unnecessary drama often was injected into situations by

officers.

         159.    The BWC footage in this case establishes the same phenomenon.

Defendant Chauvin kneed on Zoya’s neck for almost five minutes while she was fully

controlled and motionless, all while Defendant Blair failed to intervene. In fact,

Defendant Blair participated in the illegal seizure by hobbling Zoya as she laid

handcuffed and motionless.

         160.    Nevertheless, MPD Sergeant Tammy Werner later reviewed and approved

the officers’ use of force against Zoya.

         161.    Zoya never presented an immediate threat to the safety of officers or others

from the time she first encountered Defendants Chauvin and Blair on June 25, 2017,

through her booking at the Hennepin County Jail that evening.

         162.    Zoya never actively resisted arrest or attempted to evade arrest by flight

from the time she first encountered Defendants Chauvin and Blair on June 25, 2017,

through her booking at the Hennepin County Jail that evening.

         163.    Though Zoya was charged with domestic assault arising out of the incident,

that charge was later dropped.

         164.    At approximately 8:47 pm on June 25, 2017, Defendant Chauvin prepared a

report about the encounter with Zoya.

         165.    In that report, Defendant Chauvin lied about his actions that evening and

omitted the true extent of his assault against Zoya.

                                               29
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 30 of 44




         166.    Defendant Chauvin nowhere reported that, in chicken-wing fashion, he

carried the handcuffed-behind-her-back Zoya out of the residence, or that he dropped her

face first onto the ground while she was unable to protect herself from the impact due to

the handcuffs.

         167.    Indeed, Defendant Chauvin reported that Zoya was simply “set down on the

grass near the sidewalk in front of the house.” This was a lie.

         168.    Furthermore, while Defendant Chauvin reported that he “kept body weight

to pin” Zoya to the ground as Defendant Blair pulled up the squad car, he nowhere

reported that such body weight was being applied to Zoya’s neck, that he applied it for

nearly five minutes while Zoya was handcuffed and controlled, or that he stayed on

Zoya’s neck long after the squad car had been retrieved.

         169.    Defendant Blair also wrote a report that evening about the encounter with

Zoya.

         170.    Like Defendant Chauvin, nowhere in his report did Defendant Blair

document that Defendant Chauvin pinned Zoya to the ground with his knee to her neck

and kept it there long after she had been handcuffed and was not resisting.

         171.    Each of these reports was designed to prevent any accountability for the

misconduct committed by Defendants Chauvin and Blair. Each covered for his brother in

blue.

         172.    The material lies and omissions in the officers’ reports are the type that

MPD rank and file are accustomed to making without consequence or repercussion from

supervisors such as Sergeant Werner and those all the way up the chain of command.

                                                30
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 31 of 44




         173.    Upon information and belief, neither Defendant Chauvin nor Defendant

Blair was disciplined by the City of Minneapolis as a result of their interactions with

Zoya on June 25, 2017.

   DEFENDANT CHAUVIN MURDERS GEORGE FLOYD AND IS CHARGED

         174.    Despite knowledge of and access to evidence of his numerous incidents of

misconduct, including the incidents concerning Zoya and John Pope, MPD supervisors

left Defendant Chauvin free to prowl for more Black persons to subjugate and torture.

         175.    The consequences of their inaction were tragic. On May 25, 2020,

Defendant Chauvin murdered George Floyd in broad daylight, using his signature knee-

to-the-neck to suffocate Floyd over more than eight minutes.

         176.    Had MPD disciplined Defendant Chauvin for his conduct involving Zoya

or John Pope, history could have been stopped from repeating itself with George Floyd.

But what else could be expected from the MPD?

         177.    On April 20, 2021, a Hennepin County jury found Defendant Chauvin

guilty of murdering George Floyd.

         178.    Approximately two weeks later, on May 6, 2021, a federal grand jury in the

District of Minnesota returned an Indictment in case number 21-CR-00108 (PAM/TNL)

against Defendant Chauvin, charging him with criminal civil-rights violations in

connection with his treatment, and the death, of George Floyd.

         179.    That same day, a federal grand jury in the District of Minnesota returned an

Indictment in case number 21-CR-00109 (WMW/HB), charging that on September 4,

2017, Defendant Chauvin deprived John Pope of the rights secured and protected by the

                                               31
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 32 of 44




Constitution of the United States to be free from unreasonable search and seizure, which

includes the right to be free from the use of unreasonable force. A true and correct copy

of that Indictment is attached hereto as Exhibit B.

         180.    The Indictment regarding Defendant Chauvin’s attack of John Pope

charged, in Count I, that Defendant Chauvin, without legal justification, held Pope by the

throat and struck him multiple times with a flashlight, a dangerous weapon. That

Indictment, in Count II, further charged that Defendant Chauvin “held his knee on the

neck and upper back of [Pope] even after [Pope] was lying prone, handcuffed and

unresisting.”

         181.    On December 15, 2021, Defendant Chauvin pleaded guilty to the conduct

charged in each of these federal Indictments. A true and correct copy of Defendant

Chauvin’s Plea Agreement and Sentencing Stipulations (the “Plea Agreement”) is

attached hereto as Exhibit C.

         182.    In the Plea Agreement, Defendant Chauvin admitted that, while acting

under color of law as an MPD officer on September 4, 2017, he willfully deprived John

Pope of his constitutional rights – specifically, the right to be free from an unreasonable

seizure, which includes the right to be free from the use of unreasonable force by a police

officer.

         183.    In the Plea Agreement, Defendant Chauvin admitted that, without legal

justification, he held John Pope by the throat and struck him multiple times in the head

with a dangerous weapon – namely, his flashlight – resulting in bodily injury to Pope.



                                             32
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 33 of 44




         184.    In the Plea Agreement, Defendant Chauvin admitted that, without legal

justification, he held his knee on John Pope’s neck, shoulders, and upper back even after

Pope was lying prone, handcuffed, and unresisting, resulting in bodily injury.

         185.    In the Plea Agreement, Defendant Chauvin admitted that “at no point in the

encounter did [John Pope] use force or threaten the use of force against the officers” on

September 4, 2017.

         186.    In the Plea Agreement, Defendant Chauvin admitted that “[t]hroughout the

encounter,” he “was aware that [John Pope] was 14 years old and that [Pope] made no

aggressive moves towards the officers.”

         187.    In the Plea Agreement, Defendant Chauvin admitted that “[a]s the officers

began to take [John Pope] into custody, [Pope] attempted to explain the situation with his

mother and pulled away. After this initial encounter, [Defendant Chauvin] used

unreasonable and excessive force on [Pope] by striking him in the head multiple times

with a police-issue flashlight. [Defendant Chauvin] then pinned [Pope] to the wall by his

throat and again struck [Pope] in the head with his flashlight. [Defendant Chauvin’s]

strikes caused a wound near [Pope’s] left ear.”

         188.    In the Plea Agreement, Defendant Chauvin “admit[ted] he also used

unreasonable and excessive force on [John Pope] by holding his knee on [Pope’s] neck,

shoulders, and upper back for between fifteen and sixteen minutes. During this period,

[Pope] was face-down on the floor, handcuffed, and unresisting. During [Defendant

Chauvin’s] restraint, [Pope] cooperated with police directions and, at times, cried from

pain.”

                                              33
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 34 of 44




         189.    In the Plea Agreement, Defendant Chauvin admitted that his conduct

against John Pope on September 4, 2017, was willful and that he knew, from MPD

policies and training, that strikes to the head were considered deadly force and that

deadly force was appropriate only when a person presents a risk of death or great bodily

harm to the officer.

         190.    In the Plea Agreement, Defendant Chauvin also admitted that he had been

trained that “if an arrestee is in the prone position, that position may make it more

difficult to breathe, and thus, officers should move that arrestee to a side recovery or

seated position.”

         191.    In the Plea Agreement, Defendant Chauvin also admitted that his use of

unreasonable force was willful, as “evidenced by the report [he] wrote about the incident

in which he omitted that he repeatedly struck [John Pope] in the head with a flashlight,

grabbed [Pope] by the throat, and used his knee to pin [Pope] to the ground for more than

fifteen minutes.”

         192.    And, in the Plea Agreement, Defendant Chauvin admitted that his willful

uses of unreasonable force on September 4, 2017, resulted in bodily injury to John Pope.

         193.    Relegated to the status of his preferred victims, Defendant Chauvin finally

had to tell the truth to strike his plea deal.

         194.    The Plea Agreement removes any doubt that Chauvin used excessive force

by pinning the handcuffed, non-resisting Zoya to the ground with his knee to her neck for

more than four minutes, and that he did so knowing such conduct was unlawful.



                                                 34
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 35 of 44




                                     ZOYA’S INJURIES

         195.    Zoya, like John Pope, was injured as a result of the use of excessive force

against her on June 25, 2017.

         196.    Within days of the incident, she presented at her clinic complaining of

anxiety, depression, and insomnia. She also complained of fatigue, irritability, and

changes in appetite as a result of the June 25 incident.

         197.    Zoya also reported pain from, and myalgia due to, the arrest.

         198.    Zoya was prescribed Hydroxyzine to help her sleep and referred for a

behavioral-health assessment.

         199.    At that assessment on July 12, 2017, Zoya was diagnosed with “major

depressive disorder, single episode, moderate” and “unspecified trauma- and stressor-

related disorder.” It was noted that her mental-health problems were affecting her ability

to function in multiple contexts/settings and causing her “clinically significant distress.”

         200.    Though Zoya had previously suffered from PTSD, her symptoms were

minimal and well-managed until the incident on June 25 – after which they “increased in

severity to a significant degree.”

         201.    The assessing psychologist reported that Zoya needed a further work-up for

post-traumatic stress disorder (PTSD), although he noted that she tested positive on a

“Primary Care PTSD Screen.”

         202.    Following the assessment, Zoya began attending therapy for her mental-

health issues, although at times she attended only intermittently because she was

homeless, had problems with transportation, or was in pain due to a later-suffered car

                                               35
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 36 of 44




accident. She continued to report depression, anxiety, and mood changes as a result of

her interactions with Defendants Chauvin and Blair on June 25, 2017.

         203.     It was noted that Zoya needed ongoing psychotherapy to stabilize her mood

and provide her counseling and support.

         204.     By February of 2018, Zoya was diagnosed as suffering from PTSD and

from recurrent major depression.

         205.     Zoya was and continues to be traumatized by the actions of Defendants

Chauvin and Blair and, in particular, Defendant Chauvin’s inhumane treatment and

torture of her.

         206.     The United Nations Convention Against Torture and Other Cruel, Inhuman,

or Degrading Treatment or Punishment defines the word “torture” to mean “an extreme

form of cruel and inhuman punishment committed under the color of law.” The

Convention “allows for no circumstances or emergencies where torture would be

permitted.”

         207.     The United States is a signatory to, and ratifier of, the United Nations

Convention Against Torture and Other Cruel, Inhuman, or Degrading Treatment or

Punishment.

         208.     Defendant Chauvin tortured Zoya by subjecting her to extreme cruel and

inhuman treatment under color of law. Chauvin treated Zoya like chattel.

         209.     Zoya has experienced and continues to experience flashbacks to the night in

question – including when Defendant Chauvin murdered George Floyd three years after

he assaulted Zoya. She still has difficulty sleeping and experiences nightmares.

                                                36
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 37 of 44




         210.    Defendant Chauvin is the most notorious police officer in Minnesota – if

not United States – history. This exacerbates Zoya’s emotional suffering and increases

the frequency of her flashbacks, as Defendant Chauvin’s name is repeatedly in the news.

Indeed, every person in this state likely knows the name Derek Chauvin; Zoya cannot

easily avoid hearing about him, emotionally bringing her back to June 25, 2017.

         211.    Zoya has difficulty discussing with others the events of June 25, 2017. She

is guarded and hesitant to relive the trauma.

         212.    Zoya has suffered and will continue to suffer from PTSD, potentially for

the rest of her life.

         213.    Zoya continues to attend counseling and therapy to address her significant

emotional distress and PTSD resulting from the events of June 25, 2017.

                                          COUNT I

              FOURTH AND FOURTEENTH AMENDMENT VIOLATIONS
               Plaintiff v. Defendant Derek Chauvin in his individual capacity

         214.    Zoya realleges and incorporates by reference herein each and every

allegation contained in each paragraph above as though fully set forth herein.

         215.    By the actions described above, Defendant Derek Chauvin, under color of

state law, violated and deprived Zoya of her clearly established and well-settled civil

rights to be free from excessive force under the Fourth and Fourteenth Amendments to

the United States Constitution.

         216.    Defendant Chauvin subjected Zoya to these deprivations of her rights either

maliciously or by acting with reckless disregard for whether her rights would be violated.


                                                37
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 38 of 44




         217.    As a direct and proximate result of the acts and omissions of Defendant

Chauvin, Zoya suffered injuries, was forced to endure great pain and mental suffering

and was damaged in an amount to be determined by the jury.

         218.    Punitive damages in an amount to be determined by the jury are available

against Defendant Chauvin and are hereby claimed as a matter of federal common law

under Smith v. Wade, 461 U.S. 30 (1983), and as such, are not subject to the pleading

requirements or the differing standard of proof set forth in Minn. Stat. § 549.20.

         219.    Zoya is entitled to fully recover her costs, including reasonable attorneys’

fees, under 42 U.S.C. § 1988.

                                           COUNT II

     RACE DISCRIMINATION – FOURTEENTH AMENDMENT VIOLATION
           Plaintiff v. Defendant Derek Chauvin in his individual capacity

         220.    Zoya realleges and incorporates by reference herein each and every

allegation contained in each paragraph above as though fully set forth herein.

         221.    The United States Constitution prohibits selective enforcement of the law

based on considerations of race.

         222.    Specifically, the Equal Protection Clause of the Fourteenth Amendment

prohibits intentionally discriminatory policing by members of law enforcement.

         223.    By the actions described above, Defendant Derek Chauvin, under color of

state law, violated and deprived Zoya of her clearly established and well-settled civil

rights to be free from race discrimination under the Fourteenth Amendment to the United

States Constitution.


                                               38
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 39 of 44




         224.    Zoya’s race (Black) was the but-for cause of Defendant Chauvin’s conduct

against Zoya on June 25, 2017.

         225.    Defendant Chauvin subjected Zoya to the deprivation of her rights either

maliciously or by acting with reckless disregard for whether her rights would be violated.

         226.    As a direct and proximate result of the acts and omissions of Defendant

Chauvin, Zoya suffered injuries, was forced to endure great pain and mental suffering

and was damaged in an amount to be determined by the jury.

         227.    Punitive damages in an amount to be determined by the jury are available

against Defendant Chauvin and are hereby claimed as a matter of federal common law

under Smith v. Wade, 461 U.S. 30 (1983), and as such, are not subject to the pleading

requirements or the differing standard of proof set forth in Minn. Stat. § 549.20.

         228.    Zoya is entitled to fully recover her costs, including reasonable attorneys’

fees, under 42 U.S.C. § 1988.

                                          COUNT III

              FOURTH AND FOURTEENTH AMENDMENT VIOLATIONS
                Plaintiff v. Defendant Ross Blair in his individual capacity

         229.    Zoya realleges and incorporates by reference herein each and every

allegation contained in each paragraph above as though fully set forth herein.

         230.    By the actions described above, Defendant Ross Blair, under color of state

law, violated and deprived Zoya of her clearly established and well-settled civil rights to

be free from excessive force under the Fourth and Fourteenth Amendments to the United

States Constitution.


                                               39
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 40 of 44




         231.    Further, by the actions described above, Defendant Blair, under color of

state law, violated and deprived Zoya of her clearly established and well-settled civil

rights under the Fourth and Fourteenth Amendments by failing to intervene in response to

Defendant Chauvin’s unconstitutional use of force, with the realistic opportunity to do so.

         232.    Defendant Blair subjected Zoya to these deprivations of her rights either

maliciously or by acting with reckless disregard for whether her rights would be violated.

         233.    As a direct and proximate result of the acts and omissions of Defendant

Blair, Zoya suffered injuries, was forced to endure great pain and mental suffering and

was damaged in an amount to be determined by the jury.

         234.    Punitive damages in an amount to be determined by the jury are available

against Defendant Blair and are hereby claimed as a matter of federal common law under

Smith v. Wade, 461 U.S. 30 (1983), and as such, are not subject to the pleading

requirements or the differing standard of proof set forth in Minn. Stat. § 549.20.

         235.    Zoya is entitled to fully recover her costs, including reasonable attorneys’

fees, under 42 U.S.C. § 1988.

                                          COUNT IV

                            CIVIL RIGHTS VIOLATIONS
                       MONELL V. DEP’T OF SOCIAL SERVICES
                        Plaintiff v. Defendant City of Minneapolis

         236.    Zoya realleges and incorporates by reference herein each and every

allegation contained in each paragraph above as if fully set forth herein.

         237.    Before June 25, 2017, the City of Minneapolis, with deliberate indifference

to the rights of citizens, initiated, tolerated, permitted, failed to correct, promoted and/or

                                               40
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 41 of 44




ratified a custom, pattern or practice on the part of its officers of the improper use of

force, including deadly force.

         238.    By failing to discipline all officers consistently on this point, City and MPD

policymakers, with the department’s ratification and approval, have approved of a

deficient policy, custom, or practice of the improper use of force, including deadly force.

         239.    Further, before June 25, 2017, the City of Minneapolis, with deliberate

indifference to the rights of citizens, initiated, tolerated, permitted, failed to correct,

promoted and/or ratified a custom, pattern or practice on the part of its officers, including

Defendant Chauvin herein, of the use of deadly force when none was justified,

specifically, the use of neck restraints on arrestees who had been handcuffed or otherwise

were under officers’ control.

         240.    Zoya’s injuries were directly and proximately caused by the

aforementioned acts and omissions and by the City’s customs, patterns, and/or practices,

and the City of Minneapolis is thereby liable in an amount to be determined by the jury.

         241.    Zoya is entitled to fully recover her costs, including reasonable attorneys’

fees, under 42 U.S.C. § 1988.

                                           COUNT V

             VIOLATION OF TITLE VI OF THE CIVIL RIGHTS ACT OF 1964,
                                42 U.S.C. § 2000d et seq.
                       Plaintiff v. Defendant City of Minneapolis

         242.    Zoya realleges and incorporates by reference herein each and every

allegation contained in each paragraph above as if fully set forth herein.



                                               41
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 42 of 44




         243.    Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq.,

prohibits discrimination based on race by entities that receive federal financial assistance.

         244.    The City of Minneapolis and the MPD receive federal financial assistance.

         245.    The City of Minneapolis, through the MPD, has engaged and continues to

engage in a pattern and practice of race discrimination in its policing practices.

         246.    As set forth above, MPD stops, arrests, and uses force against Black

individuals at significantly higher rates than white individuals in similar circumstances.

         247.    The disproportionate impact of policing practices on Black individuals, and

the failure to address it despite knowledge by City and MPD leaders, evidences a policy

or custom of intentional race discrimination by the MPD.

         248.    Zoya’s injuries were directly and proximately caused by the

aforementioned acts and omissions and by the City’s and MPD’s customs, patterns,

and/or practices, and the City of Minneapolis is thereby liable in an amount to be

determined by the jury.

         249.    Zoya is entitled to fully recover her costs, including reasonable attorneys’

fees, under 42 U.S.C. § 1988.

                                   PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Zoya Code prays for judgment as follows:

         1.      That this Court find that the Defendants committed acts and omissions

violating the United States Constitution, actionable under 42 U.S.C. § 1983, and Title VI

of the Civil Rights Act;



                                               42
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 43 of 44




         2.      As to Count I, a money judgment against Defendant Chauvin for

compensatory damages and punitive damages in an amount to be determined by the jury,

together with costs, including reasonable attorneys’ fees under 42 U.S.C. § 1988 and

prejudgment interest;

         3.      As to Count II, a money judgment against the Defendant Chauvin for

compensatory damages and punitive damages in an amount to be determined by the jury,

together with costs, including reasonable attorneys’ fees under 42 U.S.C. § 1988 and

prejudgment interest;

         4.      As to Count III, a money judgment against Defendant Blair for

compensatory damages and punitive damages in an amount to be determined by the jury,

together with costs, including reasonable attorneys’ fees under 42 U.S.C. § 1988 and

prejudgment interest;

         5.      As to Count IV, a money judgment against the City of Minneapolis for

compensatory damages in an amount to be determined by the jury, together with costs,

including reasonable attorneys’ fees under 42 U.S.C. § 1988 and prejudgment interest;

         6.      As to Count V, a money judgment against the City of Minneapolis for

compensatory damages in an amount to be determined by the jury, together with costs,

including reasonable attorneys’ fees under 42 U.S.C. § 1988 and prejudgment interest;

         7.      For an order mandating changes in the policies and procedures of the

Minneapolis Police Department requiring, among other things, policy and training

measures in the proper use of restraint techniques and the risks of positional asphyxia, the



                                              43
92775553.1
             CASE 0:22-cv-01438-PJS-DTS Doc. 1 Filed 05/31/22 Page 44 of 44




proper reporting of use of force, and the obligation to intervene when observing the

unlawful use of force by other officers; and

         8.      For such other and further relief as this Court may deem just and equitable.

         ZOYA DEMANDS A TRIAL BY JURY AS TO ALL ISSUES SO TRIABLE.

Dated: May 31, 2022                          ROBINS KAPLAN LLP

                                             s/Robert Bennett
                                             Robert Bennett, #6713
                                             Andrew J. Noel, #322118
                                             Kathryn H. Bennett, #0392087
                                             Marc E. Betinsky, #0388414
                                             Greta A. Wiessner, #0401130
                                             800 LaSalle Ave, Suite 2800
                                             Minneapolis, MN 55402
                                             Telephone: 612-349-8500
                                             rbennett@robinskaplan.com
                                             anoel@robinskaplan.com
                                             kbennett@robinskaplan.com
                                             mbetinsky@robinskaplan.com
                                             gwiessner@robinskaplan.com

                                             Attorneys for Plaintiff Zoya Code




                                               44
92775553.1
